              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                       CRIMINAL CASE NO. 2:08cr21-2


UNITED STATES OF AMERICA                      )
    Plaintiff,                                )
                                              )
                  v.                          )      FINAL ORDER OF
                                              ) CONTINUING GARNISHMENT
                                              )
MICHAEL ANTHONY OWL,                          )
    Defendant,                                )
                                              )
and                                           )
                                              )
EASTERN BAND OF CHEROKEE                      )
INDIANS,                                      )
     Garnishee.                               )
                                          )


      THIS MATTER is before the Court on the Answer of the Garnishee

[Doc. 77].



                          PROCEDURAL HISTORY

      On June 4, 2008, the Defendant was charged with attempted robbery,

assault with intent to commit murder, kidnaping, assault with a dangerous

weapon with intent to do bodily harm, assault resulting in serious bodily injury,

and using and carrying a firearm during a crime of violence, in violation of 18




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U.S.C. §§2111; 1201; 113(a)(3) & (a) (6); 924(c)(1)(A)(iii) and 1153. [Doc. 6].

The Defendant entered into a plea agreement with the Government pursuant

to which he pled guilty to attempted robbery and using and carrying a firearm

during a crime of violence. [Doc. 33]. On February 17, 2009, the Defendant

was sentenced to a total of 177 months imprisonment. [Doc. 45]. He was

ordered to pay restitution to his victim in the amount of $17,803.70 and $200

in assessments. [Id.].

      In April 2009, the Government moved for a writ of garnishment as to the

Eastern Band of Cherokee Indians (Band) in order to garnish tribal gaming

proceeds which were payable to the Defendant. [Doc. 59]. On April 27, 2009,

the Defendant and the Band were served by certified mail with all documents

relevant to the application for a writ of garnishment. [Doc. 68]. Contrary to the

certificate of service filed by the Government, the Band has alleged it was

served on January 7, 2010. [Doc. 77, at 1]. The Defendant did not file any

response.

      On January 15, 2010, the Band filed an untimely Answer which

contained a motion to quash the application for a writ. [Id.]; see, 28 U.S.C.

§3205(c)(2)(E). In the Answer, the Band argues that the Defendant’s per

capita distribution of gaming revenues received from the Band are immune

from garnishment due to the sovereign nature of the Band. It does not argue


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that there is any existing order of child support which must be paid from the

per capita distribution.



                               DISCUSSION

      Indian tribes have traditionally been considered sovereign nations which

possess common law immunity from suit; however, that immunity may be

abrogated by Congress. C & L Enterprises v. Citizens Band of Potawatomi

Indian Tribe of Oklahoma, 532 U.S. 411, 121 S.Ct. 1589, 149 L.Ed.2d 623

(2001). When Congress enacted the Federal Debt Collection Procedure Act

(FDCPA) in 1990, it defined a “garnishee” as any person who has custody of

any property in which the debtor has a nonexempt interest; and, it defined

“person” as including an Indian tribe. 28 U.S.C. §§3002(7) & (10). “Congress

has the power to statutorily waive a tribe’s sovereign immunity.” Northern

States Power Co. v. Prairie Island Mdewakanton Sioux Indian Community,

991 F.2d 458, 462 (8 th Cir. 1993). The FDCPA uses unequivocal language to

waive this immunity. C & L Enterprises, 532 U.S. at 418; United States v.

Weddell, 12 F.Supp.2d 999, 1000 (D.S.D. 1998), affirmed 187 F.3d 645 (8 th

Cir. 1999), certiorari denied sub nom Yankton Sioux Tribe v. United States,

528 U.S. 928, 120 S.Ct. 322, 145 L.Ed.2d 251 (1999); United States v. Smith,

2008 WL 700320 (W .D.N.C. 2008). As a result, the Band must pay over to


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the federal government any property in which the Defendant has a nonexempt

interest. Weddell, supra. That property includes a per capita distribution to

tribal members of gaming revenues. Id.; accord, In re Kedrowski, 284 B.R.

439 (Br.W.D.Wis. 2002). Nonetheless, in the event that an order for child

support should be entered at some future time, it shall have priority over a writ

of garnishment issued pursuant to the FDCPA. 28 U.S.C. §3205(c)(8).



                                    ORDER

      IT IS, THEREFORE, ORDERED that any motion to quash the writ of

garnishment contained within the Answer of the Garnishee [Doc. 77] is hereby

DENIED.

      IT IS FURTHER ORDERED that any future child support order which is

properly entered in The Cherokee Tribal Court for the support of the

Defendant’s children shall have priority over the writ of garnishment issued by

this Court until such time as the child support obligation has expired.

      IT IS FURTHER ORDERED that a Final Order of Continuing

Garnishment is hereby ENTERED in the amount of $18,003.70, computed

through April 17, 2009, which attaches to each per capita distribution of

gaming revenues on account of the Defendant.

      IT IS FURTHER ORDERED that payments should be made to the


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United States Clerk of Court and mailed to the United States Clerk of Court,

401 West Trade Street, Charlotte, N.C. 28202.          Each check shall be

embossed “Court Number 2:08cr21-2, Defendant Michael Anthony Owle.



                                     Signed: May 7, 2010




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